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  6                          UNITED STATES DISTRICT COURT
  7                       SOUTHERN DISTRICT OF CALIFORNIA
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  9    UNITED STATES OF AMERICA,                             CASE NO. 10CR3044 WQH
 10                                       Plaintiff,         ORDER
            vs.
 11    ULISES VALENZUELA (38),
 12                                     Defendant.
 13
 14   HAYES, Judge:
 15          The matter before the Court is the motion for revocation of pretrial release order filed
 16   by the Plaintiff United States of America. (Doc. # 199).
 17                                              FACTS
 18          On July 29, 2010, the federal grand jury returned a one-count indictment charging the
 19   Defendant Ulises Valenzuela and others with conspiring to conduct enterprise affairs through
 20   a pattern of racketeering activity, in violation of 18 U.S.C. 1962(d). The indictment charges
 21   that the Defendant Valenzuela was a crew member in the Fernando Sanchez Organization
 22   (FSO), a drug trafficking organization with the objective and purpose of importation and
 23   distribution of narcotics in the United States. The indictment alleges that the FSO conducts
 24   extensive enforcement operations in the United States and Mexico in support of its drug
 25   business, including acts of assault, kidnaping and murder. The indictment charges that
 26   Defendant Valenzuela was tasked by the FSO with committing murder. The indictment
 27   charges that “[o]n or about June 3, 2010, defendant IVAN CANDELARIO MAGANA
 28   HEREDIA recruited defendant ULISES VALENZUELA to murder M.S. in San Diego,


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  1   California.” (Doc. # 82 at 52).
  2          Defendant was arrested and arraigned before the United States Magistrate Judge.
  3   Defendant entered a plea of not guilty. The attorney for the United States made an oral motion
  4   to detain the Defendant.
  5          On August 4, 2010, the Magistrate Judge conducted a detention hearing. The
  6   Government sought detention on the grounds that the Defendant was a flight risk and a danger
  7   to the community. Defendant asserted that there are conditions or combinations of conditions
  8   which could be set by the Court to assure his presence at future court appearances and the
  9   safety of the community.
 10          The United States Magistrate Judge concluded that conditions could be set that would
 11   satisfy him that the Defendant will make his court appearances and comply with other
 12   conditions of pretrial release. The Magistrate Judge stated:
 13          There’s no rebuttable presumption in this case. I’m not going to find by clear
             and convincing evidence that he is a danger. I’m very worried about the two
 14          firearms that were found in his house, and recorded conversations to which there
             seems to probably be no dispute, especially discussions about a silencer. He
 15          does have limited involvement, in terms of his – the overall drug trafficking and
             other violence that we’ve seen from some of the other Defendants here. He is
 16          facing a very substantial sentence, but he is a U.S. citizen. He has a relatively
             small record, a drunk driving. He has extensive ties to San Diego. I haven’t
 17          heard that there’s any major ties to Mexico. The guns found at his house, I’m
             informed from counsel, that they were legally possessed. So I’m inclined to...set
 18          bail.
 19   (Doc. # 217 at 41-42).
 20          On August 8, 2010, the Government filed a motion for review of the order granting
 21   pretrial release. The Government asserts that the Defendant should be detained on the grounds
 22   that he is a flight risk and a danger to the community. The Government contends that the nature
 23   and circumstances of the racketeering conspiracy and the Defendant’s agreement to a carry out
 24   a murder on behalf of the organization weigh heavily in favor of detention. Defendant asserts
 25   that the conditions of release will assure the Defendant’s appearance at court and will prevent
 26   any danger to the public. Defendant asserts that the Government should not be permitted to
 27   rely upon the wiretap evidence, that the claim of an alleged plot to commit murder is
 28   speculation, and that the showing of his history and characteristics support release on bond.


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  1          On August 24, 2010, this Court held a hearing on the motion to revoke pretrial release
  2   order. At the hearing, Defendant objected to reference to any evidence derived from wiretaps
  3   in this case on the grounds that the Government had not complied with the requirements of 18
  4   U.S.C. § 2518(9).1 Defendant asserts that the Government was required to produce the orders
  5   and the applications for the electronic interceptions not less than ten days prior to any detention
  6   hearing in order to rely upon any wiretap evidence at the detention hearing. The Government
  7   asserted that the requirements of Section 2518(9) afford defendants an opportunity to make a
  8   pretrial motion to suppress and do not apply to detention hearings. The Court set a further
  9   hearing date in order to allow the parties to file briefing on the use of the wiretap evidence at
 10   the detention hearing. The Government subsequently produced to the defense the “court
 11   order[s] and accompanying application[s].” 18 U.S.C. § 2518(9).
 12          On September 3, 2010, the Court held a further hearing. Defendant stated that he did
 13   not seek a continuation of the detention hearing and moved the Court to exclude any evidence
 14   derived from electronic interceptions in this case on the grounds that the Government did not
 15   comply with Section 2518(9).
 16          The Government’s proffered evidence that the Defendant was directly involved in a
 17   conspiracy to commit murder.2 The intercepted wire communications indicate that the
 18   Defendant Ivan Candelario Magana Heredia recruited Defendant Venezuela to commit murders
 19   on behalf of the FSO in Tijuana; that the Defendant Venezuela declined but said he would
 20   commit “cero-cuatros” in San Diego. (Doc. # 217 at 31). The Government asserts that the
 21   reference to zero fours is code used by the FSO to refer to murder. The wiretaps contain
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               18 U.S.C. § 2518(9) provides that “[t]he contents of any wire, oral, or electronic
 23   communication intercepted pursuant to this chapter or evidence derived therefrom shall not be
      received in evidence or otherwise disclosed in any trial, hearing, or other proceeding in a Federal or
 24   State court unless each party, not less than ten days before the trial, hearing, or other proceeding, has
      been furnished with a copy of the court order, and accompanying application, under which the
 25   interception was authorized or approved. This ten-day period may be waived by the judge if he finds
      that it was not possible to furnish the party with the above information ten days before the trial,
 26   hearing, or proceeding and that the party will not be prejudiced by the delay in receiving such
      information.”
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              “The rules concerning admissibility of evidence in criminal trials do not apply to the
 28   presentation and consideration of information at the [detention] hearing.” 18 U.S.C. § 3142(f)(2).
      Defendant has disputed only the inferences to be drawn from the facts proffered by counsel for the
      Government.
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  1   evidence that the target of the murder was an individual who informally cooperated with
  2   various government agencies and had provided information concerning the Tijuana cartels. The
  3   Government proffered evidence that Defendant Venezuela agreed to commit the murder in
  4   exchange for a payment of $10,000; that Defendant Venezuela was given two addresses where
  5   the individual resided; and that the Defendant Venezuela conducted surveillance at the two
  6   addresses. In a separate recorded conversation, Defendant Venezuela asked Defendant Magana
  7   Heredia for a silencer3 to be used in the murder. After law enforcement officers contacted the
  8   individual and informed him of the plot, he vacated the residences.
  9          On July 23, 2010, the Government executed a search warrant at the home of Defendant
 10   Venezuela in Chula Vista, California and seized an AR 15 semiautomatic rifle and a shot gun.
 11   The automatic rifle was not legally possessed. 4
 12          Defendant has proffered evidence that he is thirty-one years old, that he is a United
 13   States citizen, and that he has one prior conviction for DUI for which he successfully completed
 14   probation in 2009. Defendant has significant ties to the San Diego community including a
 15   significant other, two children, and extended family and friends. Defendant has worked in the
 16   construction industry and Deluxe Car Wash. Defendant is currently not employed.
 17                                    RULING OF THE COURT
 18          The Magistrate judge found that the Government had not carried its burden to show that
 19   no condition or combination of conditions will reasonable assure the appearance of the person
 20   as required and the safety of any other person and the community. The Government is entitled
 21   to review by this court. 18 U.S.C. § 3145(a)(1). This Court reviews the evidence “de novo”
 22   and makes its own determination whether to modify the detention order. United States v.
 23   Keonig, 912 F.2d 1190, 1192-93 (9th Cir.1990).
 24          The Bail Reform Act mandates the release of a person pending trial unless the court
 25   “finds that no condition or combination of conditions will reasonable assure the appearance of
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              The Government stated that the Defendant requested a “straw” or a “muffler.”
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               Counsel for the Government informed the Magistrate Judge that he thought that the rifle was
      a legal weapon. After further investigation, Counsel for the Government informed this Court that the
      rifle was not legally possessed.
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  1   the person as required and the safety of any other person and the community....” 18 U.S.C. §
  2   3142(e)(1). The Government must establish the risk of flight by a clear preponderance of the
  3   evidence and must demonstrate that there is no condition, or combination of conditions, that
  4   would reasonably assure Defendant’s appearance at future proceedings if he is released on
  5   bond. See United States v. Motamedi, 767 F.2d 1403, 1406-07 (9th Cir. 1985). A finding that
  6   a defendant is a danger to any other person or the community must be supported by “clear and
  7   convincing evidence.” Hir, 517 F.3d at 1086; 18 U.S.C. § 3142(f)(2)(B). The Court takes into
  8   account all available information concerning the factors set forth in Section 3142(g) in
  9   determining whether there are conditions of release that will reasonable assure the appearance
 10   of the Defendant and the safety of any other person and the community including: 1) the nature
 11   and circumstances of the offense charged, 2) the weight of the evidence against the person, 3)
 12   the history and characteristics of the person, including the person’s character, physical and
 13   mental condition, family and community ties, employment, financial resources, past criminal
 14   conduct, and history relating to drug and alcohol abuse; and 4) the nature and seriousness of
 15   the danger to any person or the community that would be posed by the person’s release. 18
 16   U.S.C. § 3142(g).
 17              Defendant is charged with participating in a drug trafficking organization and
 18   conducting enforcement operations. The grand jury found probable cause to believe that the
 19   Defendant conspired to murder an individual who had cooperated against the interests of the
 20   organization. The nature and circumstances of the racketeering offense charged are extremely
 21   serious. The charges could result in a sentencing guideline range of 262-327 months. The
 22   Court considers the evidence derived from the wiretap5 and finds that the weight of the evidence
 23   against the Defendant is strong.
 24          While the weight of the evidence is the least important factor, this Court finds that nature
 25   and circumstances of the charged offense along with the weight of the evidence strongly favors
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                Congress noted that the purpose of the notice requirements set forth in 18 U.S.C. § 2518(9)
 27   is to afford defendants “an opportunity to make a pretrial motion to suppress...” S. Rep. No. 1097, 90th
      Cong. 2d Sess. 105-106, reprinted in 1968 U.S. Code Cong. & Ad. News, 2112, 2195. In this case,
 28   there was no prejudice to the Defendant and the Court would have continued the detention hearing for
      ten days. Defendant requested that the Court to go forward with the hearing on that day. The Court
      will not exclude the wiretap evidence from this detention hearing.
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  1   detention in this case. The evidence proffered from the electronic surveillance indicates that
  2   the Defendant agreed to murder for compensation, took affirmative steps to assess the locations
  3   of the target, and requested a silencer. Defendant is facing a substantial sentence if convicted.
  4   Defendant is not employed and has no financial resources. The Court concludes that the
  5   Defendant’s ties to the community and limited criminal background do not outweigh the strong
  6   evidence that the Defendant poses a serious danger to the community and risk of flight if
  7   released. The Court has weighed all relevant factors set forth in 18 U.S.C. § 3142(g) and finds
  8   that the Government has established by clear and convincing evidence that the Defendant is a
  9   danger to the community and by a clear preponderance that the Defendant is a risk of flight.
 10   The Court concludes that no condition or combination of conditions will reasonable assure the
 11   appearance of the Defendant as required and the safety of other persons and the community.
 12          IT IS HEREBY ORDERED that the motion for revocation of pretrial release order filed
 13   by the Plaintiff United States of America (Doc. # 199) is granted and Defendant’s motion to
 14   suppress wiretap evidence (#264) is denied. Defendant is ordered detained pending trial and,
 15   if convicted, sentencing in this matter.
 16   DATED: September 8, 2010
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                                                       WILLIAM Q. HAYES
 18                                                   United States District Judge
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